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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE NEW YORK TIMES COMPANY,

                        Plaintiff,
                                                         Case No. 1:23-cv-11195 (SHS) (OTW)
           v.
                                                         NOTICE OF MOTION AND
 MICROSOFT CORPORATION, OPENAI, INC.,                    MOTION TO DISMISS
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,                     ORAL ARGUMENT REQUESTED
 OAI CORPORATION, LLC, and OPENAI
 HOLDINGS, LLC,

                        Defendants.


       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

undersigned hereby moves this Court on behalf of Defendant Microsoft Corporation, before the

Honorable Sidney H. Stein in Courtroom 23A of the United States District Court for the

Southern District of New York, Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New

York, New York, 10007, for an order pursuant to Federal Rule of Civil Procedure 12(b)(6)

dismissing Counts IV, V, and VI for failure to state a claim upon which relief can be granted.




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Dated: San Francisco, California          Respectfully submitted,
       March 4, 2024



                                          By: /s/ Annette L. Hurst

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